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                                                    IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                              EASTERN DIVISION

                            ROWENA DZIBULA,                                       )
                                                                                  )
                                                            Plaintiff,            )
                                                                                  )
                                    v.                                            )   Case No.: 1:18-cv-4542
                                                                                  )
                            J. C. ANDERSON, INC. and                              )
                            PETER ERLING JACOBSEN                                 )
                                                                                  )
                                                            Defendant.            )   JURY DEMANDED

                                                                         COMPLAINT

                                    NOW COMES Plaintiff, ROWENA DZIBULA, by and through her attorney, Sam

                            Sedaei of the Law Offices of GOLDMAN & EHRLICH, CHTD., and as her Complaint against

                            Defendant, J. C. ANDERSON, INC. and PETER ERLING JACOBSEN, alleges as follows:

                                                               NATURE OF THE ACTION

                                    This is an action for violations of Title VII of the Civil Rights Act of 1964, as amended,

                            42 U.S.C. §2000e, et seq., and commission of civil battery under Illinois state law.

                                                   JURISDICTION, VENUE AND JURY DEMANDS

                                   1.        Plaintiff invokes the jurisdiction of this Court pursuant to 42 U.S.C. §2000e, et

                            seq., 28 U.S.C.A. § 1331, and 28 U.S.C.A. § 1367.

                                   2.        Venue is proper in the Northern District of Illinois, Eastern Division as the

      LAW OFFICES           alleged acts occurred herein.
GOLDMAN & EHRLICH
20 SOUTH CLARK STREET
        SUITE 500
 CHICAGO, ILLINOIS 60603
                                   3.        Plaintiff demands a trial by jury.
      (312)332-6733
     __      ___
                                                                         THE PARTIES
   ARDC No. 6317657

                                    4.       Plaintiff, ROWENA DZIBULA, is a resident of Illinois.

                                    5.      Defendant, J. C. ANDERSON, INC., is a corporation organized under the laws

                            of the state of Illinois.
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                                   6.      Defendant, PETER ERLING JACOBSEN is, on information and belief, a

                            resident of the state of Oregon.

                                                               GENERAL ALLEGATIONS

                                   7.      Plaintiff worked for Defendant J.C. Anderson, Inc. (“JCA”) for 1.5 years. Most

                            recently, she filled the role of a “construction estimator.”

                                   8.      On September 18, 2017, Plaintiff attended JCA’s fifth annual golf outing at

                            River Forest Country Club in Elmhurst, IL. Defendant Peter Erling Jacobsen (“Jacobsen”), a

                            well-known professional golfer, was in attendance at the invitation of JCA.

                                   9.      During the event, Jacobsen offered to provide JCA employees instructions on

                            how to hit a “chip shot.” As a JCA employee, Plaintiff felt obligated to go along with the

                            demonstration. As Jacobsen took his position behind Plaintiff, he assertively pressed his hip

                            against Plaintiff’s buttocks. Furthermore, as he proceeded to show Plaintiff how to hit the shot,

                            he said “and that’s when I take my wood out”, a lewd comment that was intended as a sexual

                            innuendo.

                                   10.     Jacobsen’s actions left Plaintiff shocked and shaken. Later that same night, she

                            e-mailed JCA Co-Owner, Jim Schumacher (“Schumacher”), and complained about Jacobsen’s

                            sexual harassment of her. Schumacher entirely ignored her initial e-mail that day.

                                   11.     On September 19, 2017, Plaintiff informed Schumacher that she had initiated a

                            claim with the Equal Employment Opportunity Commission (“EEOC”).
      LAW OFFICES
GOLDMAN & EHRLICH                  12.     Plaintiff remained in contact with JCA throughout the week, but took paid time
20 SOUTH CLARK STREET
        SUITE 500
 CHICAGO, ILLINOIS 60603
      (312)332-6733         off (“PTO”) for that week to address the emotional distress resulting from Jacobsen’s actions.
     __      ___

   ARDC No. 6317657         JCA’s Chief Financial Officer, Michael J. Power (“Power”) approved Plaintiff’s PTO. Plaintiff

                            also let JCA know that she was seeing a therapist to deal with the trauma caused by Jacobsen.

                                   13.     The following week, JCA insisted that Plaintiff come back to work, her

                            emotional state notwithstanding. JCA also made unequal demands to Plaintiff, by asking her to
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                            offer guarantees that she would only speak positively about JCA to clients, even though

                            Plaintiff had never spoken negatively about JCA to clients.

                                   14.     Despite JCA’s failure to hold Jacobsen or anyone else accountable, Plaintiff let

                            JCA know that she would be returning to work. Yet, JCA presented her with a separation

                            agreement. She did not agree to the terms of the separation agreement. Nonetheless, JCA

                            officially terminated her employment on October 2, 2017.

                                   15.     On October 24, 2017, Plaintiff filed a charge with the EEOC.

                                   16.     The EEOC issued Plaintiff a Right to Sue letter dated April 2, 2018.

                                                 COUNT I – RETALIATION UNDER TITLE VII
                                                              (Against JCA)

                                   17.     Plaintiff complained about sexual harassment in the work place to JCA, and

                            informed JCA that she had filed an EEOC claim.

                                   18.     In retaliation, Defendant JCA subjected Plaintiff to unequal terms and

                            conditions, and swiftly terminated her employment.

                                   19.     JCA’s actions constitute a violation of Title VII of the Civil Rights Act of 1964.

                                   20.     JCA’s actions have caused Plaintiff lost wages and other employment benefits,

                            and significant emotional distress.

                                   21.     At all times relevant, JCA’s actions were willful and wanton, entitling Plaintiff

                            to an award of punitive damages.

      LAW OFFICES                           COUNT II – BATTERY UNDER ILLINOIS STATE LAW
GOLDMAN & EHRLICH                                          (Against Jacobsen)
20 SOUTH CLARK STREET
        SUITE 500
 CHICAGO, ILLINOIS 60603
      (312)332-6733                17.     Plaintiff realleges and incorporates ¶¶ 1-16 of Count I as ¶¶1-16 of Count II.
     __      ___

   ARDC No. 6317657                18.     Defendant Jacobsen intended to cause harmful or offensive contact with Plaintiff

                            during the JCA golf event on September 18, 2017.

                                   19.     Plaintiff did not consent to Jacobsen’s harmful or offensive contact with her.
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                                   20.     Jacobsen caused harmful or offensive contact, and emotional distress to Plaintiff.

                            Furthermore, Plaintiff’s termination was a natural consequence, and in part, direct result of

                            Jacobsen’s actions.

                                   21.     Jacobsen’s actions have caused Plaintiff lost wages and other employment

                            benefits, and significant emotional distress.

                                   22.     At all times relevant, Jacobsen’s actions were willful and wanton, entitling

                            Plaintiff to an award of punitive damages.

                                   WHEREFORE, Plaintiff requests that this Court enter a judgment in favor of Plaintiff

                            and against Defendants, and that Plaintiff be awarded the following relief:

                                   A.      Backpay, prejudgment interest, and remedy for any negative tax consequences

                                           from an award of a lump sum payment;

                                   B.      Compensatory damages;

                                   C.      Punitive Damages;

                                   D.      Attorney Fees and Costs; and

                                   E.      Such other and further relief as this court deems appropriate.


                            Dated: June 29, 2018                            Respectfully submitted,


                                                                             /s/ Sam Sedaei
                                                                            Sam Sedaei of the Law Offices of Goldman &
                                                                            Ehrlich, Chtd., as attorneys for Plaintiff
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